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JUD!C|AL PANEL ON
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FELED
CLERK'S OFFICE

 

 

 

fani'rA o. wmata
DOCK£"?WO. 1657

 

 

BEFORE THE JUDICIAL PANEL ONMULTIDISTRICT LITIGA T£O'N
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IN RE WO,XCYPRODUCTS LIABILITY LITIGA TION KBV
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(SEE ATTA CHED sCHED ULE) 5 2005
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CONDITIGNAL TRANSFER ORDER (CT0-14) '°'~`T~. a°&gn

On Febrtiary 16, 2005, the l’aiiel transferred 138 civil actions to the United States District Court for the
Eastern District of Louisiana for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C.
§ 1407. Since that time, 542 additional actions have been transferred to the Eastern District of

lsouisiana. With the consent of that court, all such actions have been assigned to the Honorable Eldon E.
liallon.

lt appears that the actions on this conditional transfer order involve questions of fact which are common
to the actions previously transferred to the E.astern District ofLouisiana and assigned to Judge Fallon.

Pursuant to Rule 7.4 ofthe Rules of Procedure of the .ludicial Panel on l\/lultidistrict Litigation_ 199
F.R.l). 425, 435-36 (200]), these actions are transferred under 28 U.S.C. § 1407 to the Eastern District
of Louisiana for the reasons stated in the order of February 16, 2005, 360 F.Supp.Zd 1352 (J.P.M.L.
2005), and, with the consent oftliat court, assigned to the Honorable Eldon E. Fallon.

This order does not become effective until it is filed in the Oft`ice ofthe Clerk ofthe United States
District Court for the Eastern District of Louisiana. The transmittal oftliis order to said Clcrk shall be
stayed fifteen (15) days from the entry thereof and ifany party files a notice of opposition vvith the Clerk
oftlie Panel vvithin this fifteen (15) day perio'd, the stay will be continued until further order ofthe Panel.

FOR Tl~lE PANEL:

WQAS<.A_

Michael .l.uBecl<

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

7 Clerk ofthe Panel

lnasmuch as no objection is l

Dending at this time, the CLAERK 3 OFF|CE

stay is iiiied. TRUE COPY

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Case 1:05-cv-01121-.]DT-STA Document 12 Filed 07/25/05 Page 2 of 5 Page|D 9
UNITED STATES DISTRICT CoURT

EAsTERN DisTRlCT oF LouisiANA
OFFicE oF THE CLERK

LoRRErrA G. WHYTE 500 PoYpRAs ST., SUiTE C-151
CLERK NEW ORLEANS, LA 7 0130

luly 21, 2005

         

Robert DiTrolio, Clerk m .,..|
United States District Court _r; §§ ;‘:' §§
Western District of Tennessee §§ §§ § w
lll S. Highland gr`iQ‘->"i'if: w §§
Jackson, TN 38301 "”` -.' “" i
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§ae r.- l
In Re: MDL 1657 Vioxx Products Liability Litigation L (3) §§ con §§

Dear Mr. DiTrolio:

Enclosed are certified copies of a transfer order received from the Multidistrict Litigation Panel
in Washington, D.C. lt instructs that the cases listed on the attached page be transferred to our district
for disposition pursuant to Ti`tle 28 USC 1407, as soon as possible. Our office has assigned new civil
action numbers to these cases as referenced on the attached page.

DO NOT FORWARD THE ORIGINAL RECORD. The Honorable Eldon E. Fallon, U.S.
District Coui't Judge issued an order directing that the transfer of records consist of only a certified
copy of the complaint (including notice of removal, if applicable), any amendments the docket sheet
and the MDL Transfer Order, together With a copy of the transfer letter be forwarded to the transferor

COUI'll.

Due to the high volume of cases involved in this litigation please provide

paper copies of the above documents instead of simply referring to vour website.
Your prompt attention in this matter is greatly appreciated

Should you have any questions regarding this request, please contact Dina Guilbeau at
(504)589-7704_

Very truly yours,
Loretta G. h ite, Clerk

 

Enclosures
cc: Judieial Panel on Multidistrict Litigation

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Casez1:05-cv-01121-.]DT-STA Document 12 Filed 07/25/05 PageSofB Page|D 10

 

Your Case Nos. Case Title ()ur Case Nos.

l:05-1 l 19 Betty E. Kreider v. Merck & Co., Inc. 05-2963 L (3)

M§ 1120 Fv:=lyn Q Flli¢:nn v MPrr‘l( Rz ("n 7 inc 05-2964 L (3)
@;1121 Teresa A. Davis v. Sarah Capocaccia, et al 05-2965 L

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Case 1:05-cv-01121-.]DT-STA Document 12 Filed 07/25/05 Page 4 of 5 Page|D 11

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

EASTERN DIVISION
Thomas M. Gould 111 south Highland Ave., Room 262
Clerk Of COul‘t Jackson, Tennessee 38301

731-421-9200
731-421-9210 Fax

July 27, 2005

United States District Court
Eastern District of Lousiana
500 Poydras St., Room C-lSl
New Orleans, LA 70130

RE: Teresa A. Davis vs. Sarah Capocaccia, Et al.,
05-2965 L (3) -Your Case No.
05-1 121 T/An -Our Case No.

Dear Clerk:

Pursuant to the Conditional Transfer Order (CTO- 14) the above referenced case has been transferred to the
United States District Court for the Eastern District of Louisiana , Please find enclosed a certified copy of
the Notice of Removal, Lower Court Complaint, Docket Sheet, MDL Transf`er Order, and a copy of the
transfer letter to the transferor court. lam also enclosing a copy of this cover letter and requesting that you
acknowledge receipt and retum it to our office in the provided envelope. Thank you for your attention in
this matter.

Thomas M. Gould, Clerk

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Deputy Clerk

ENCLOSURES

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 1:05-CV-01121 Was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listedl

 

 

T. Robert Hill

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Jackson, TN 38301

Lisa M. Martin

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Poplar Ave.

Ste. 500

1\/1emphis7 TN 38119

Honorable .1 ames Todd
US DISTRICT COURT

